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                             IN THE UNITED          STATES DISTRICT COURT

                            FOR THE        SOUTHERN DISTRICT OF GEORGIA

                                               AUGUSTA DIVISION



UNITED STATES OF AMERICA,


               v.                                                           CR    113-220



JOSE    INES DAVILA




                                                   ORDER




        Defendant      has    filed        a     motion   for       reduction         of    sentence    under          18


U.S.C.    § 3582(c)(2)        on the basis that Amendment 782 to the United States

Sentencing       Guidelines         has        revised        the   guidelines             applicable       to    drug

trafficking         offenses.          Even       though Amendment              782    became       effective          on

November    1,      2014,    no     defendant        may       be    released         on    the    basis     of    the

retroactive amendment before November 1,                            2015.       See U.S.S.G.         Amend.       788.

Thus,    the     Court       will      undertake          a     review      of     cases          involving       drug

trafficking         offenses      in       due    course.           If    Defendant         is    entitled        to    a

sentence     reduction         as      a    result    of       amendments         to        the    United     States


Sentencing Guidelines,              the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 416) is DEFERRED.1

        ORDER ENTERED at Augusta,                    Georgia,            this    f^X(s       day of November,

2014.




                                                          $BLETJ.         RANDAL HALL
                                                               STATES DISTRICT JUDGE
                                                          ERN DISTRICT OF GEORGIA




        The Clerk is directed to terminate the motion for administrative purposes
